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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

BLACKBIRD TECH LLC d/b/a
BLACKBIRD TECHNOLOGIES,

Plaintiff,
aintiff, C.A. No. 15-63 (RGA)

V.

3NLED Lighting USA, Inc.

 

Defendant.

 

MOTION FOR PERMISSION TO WITHDRAW AS COUNSEL

Pursuant to Local Rule 83.7, Richards, Layton & Finger, P.A. (“Richards, Layton &
Finger”) moves this Court for an Order permitting Richards, Layton & Finger to withdraw as
counsel for 3NLED Lighting USA, Inc. (“3NLED”) in this matter. In support of this motion,
Richards, Layton & Finger states as follows:

1. Richards, Layton & Finger was engaged by 3NLED for the limited purpose of
acting as local Delaware counsel for 3NLED in this action. The law firm of Huntsman Law
Group, PLLC was engaged by 3NLED to act as lead counsel for 3NLED in this action.

2. 3NLED has failed substantially in its obligations to Richards, Layton & Finger
making it unreasonably difficult for Richards, Layton & Finger to continue the representation.
Among other things, 3NLED has stopped returning e-mails and telephone calls from attorneys at
Huntsman Law Group, PLLC, making it impossible for Richards, Layton & Finger to continue
representation of 3NLED and to honor its obligations to this Court. Richards, Layton & Finger
has been unable to receive any direction from 3NLED with regards to this litigation and cannot
continue to represent it.

3, Richards, Layton & Finger provided notice to 3NLED on April 1, 2016 informing

them that Richards, Layton & Finger 1s withdrawing from representation of 3NLED, 3NLED

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has been advised that Richards, Layton & Finger was filing the instant motion and that it should
seek legal representation to assist it in the above-caption matter.

4, This case is still in its early stages and withdrawal will not prejudice either side.

5, Pursuant to Local Rule 83.7, this Motion is being served on 3NLED by certified
mail at its last known address. Additional copies of this motion have been sent to 3NLED by
electronic delivery.

WHEREFORE, Richards, Layton & Finger respectfully requests that this Court enter an

Order in the form attached hereto permitting Richards, Layton & Finger to withdraw as counsel

 

to 3NLED.
/s/ Kelly E. Farnan

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Attorneys for Defendant 3NLED
Lighting USA, Inc.

Dated: April 18, 2016

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